Case 4:14-cr-00024-ALM-CAN Document 285 Filed 12/02/21 Page 1 of 4 PageID #: 990




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 v.                                                §    CRIMINAL ACTION NO. 4:14-CR-24
                                                   §
 STEVEN MOTT (6)                                   §

                           REPORT AND RECOMMENDATION
                        OF UNITED STATES MAGISTRATE JUDGE

        Now before the Court is the request for revocation of Defendant Steven Mott’s

 (“Defendant”) supervised release. After the District Judge referred the matter to this Court for a

 report and recommendation, the Court conducted a hearing on November 17, 2021, to determine

 whether Defendant violated his supervised release. Defendant was represented by Mike Pannitto

 of the Federal Public Defender’s Office. The Government was represented by Assistant United

 States Attorney Tom Gibson.

        Steven Mott was sentenced on September 30, 2015, before The Honorable Amos L.

 Mazzant, III of the Eastern District of Texas after pleading guilty to the offense of Conspiracy to

 Possess with Intent to Manufacture and Distribute Methamphetamine, a Class A felony. This

 offense carried a statutory maximum imprisonment term of life. The guideline imprisonment

 range, based on a total offense level of 29 and a criminal history category of V, was 140 to 175

 months. Steven Mott was subsequently sentenced to 140 months imprisonment and 5 years

 supervised release subject to the standard conditions of release, plus special conditions to include

 financial disclosure, drug abuse testing/treatment and mental health treatment. On October 8, 2015,

 Mr. Mott’s sentence was reduced to 93 months imprisonment. On July 24, 2021, Steven Mott

 completed his period of imprisonment and began service of the supervision term.




 REPORT AND RECOMMENDATION – Page 1
Case 4:14-cr-00024-ALM-CAN Document 285 Filed 12/02/21 Page 2 of 4 PageID #: 991




        On October 18, 2021, the United States Probation Officer executed a Petition for Warrant

 or Summons for Offender Under Supervision [Dkt. 268, Sealed]. The Petition asserts that

 Defendant violated seven (7) conditions of supervision, as follows: (1) The defendant must report

 to the probation office in the district to which the defendant is released within 72 hours of release

 from the custody of the Bureau of Prisons; (2) The defendant shall not leave the judicial district

 without the permission of the Court or probation officer; (3) The defendant shall refrain from

 excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any

 controlled substance or any paraphernalia related to any controlled substances, except as

 prescribed by a physician; (4) The defendant shall not associate with any persons engaged in

 criminal activity, and shall not associate with any person convicted of a felony unless granted

 permission to do so by the probation officer; (5) The defendant shall notify the probation officer

 within seventy-two hours of being arrested or questioned by a law enforcement officer; (6) You

 shall participate in a program of testing and treatment for drug abuse, under the guidance and

 direction of U.S. Probation office, until such time as the defendant is released from the program

 by the probation officer; and (7) You must reside in a residential reentry center or similar facility,

 in a community corrections component, for a period of 180 days to commence immediately. You

 must abide by the rules and regulations of the center and pay subsistence according to the U.S.

 Bureau of Prisons’ guidelines [Dkt. 268 at 1-2, Sealed].

        The Petition alleges that Defendant committed the following acts: (1) Mr. Mott failed to

 report to the U.S. Probation Office within 72 hours of release; (2) On July 25, 2021, Mr. Mott

 traveled to the Northern District of Texas without permission; (3) On July 19, 2021, and July 27,

 2021, Mr. Mott submitted urine samples that tested positive for methamphetamine. On July 19,

 2021, Mr. Mott also admitted to using synthetic marijuana; (4) On July 25, 2021, Mr. Mott



 REPORT AND RECOMMENDATION – Page 2
Case 4:14-cr-00024-ALM-CAN Document 285 Filed 12/02/21 Page 3 of 4 PageID #: 992




 associated with convicted felon Sonya Townsend (DOB: 3/22/1978) without permission; (5) On

 July 25, 2021, Mr. Mott had contact with the Richardson Texas Police Department and failed to

 notify his probation officer within seventy-two hours; (6) On July 22, 2021, Mr. Mott failed to

 appear for random drug testing; and (7) On October 14, 2021, Mr. Mott was unsuccessfully

 discharged from the residential reentry center in Tyler, Texas. [Dkt. 268 at 1-2, Sealed].

        Prior to the Government putting on its case, Defendant entered a plea of true to allegations

 1, 2, 4, 5, 6, and 7 of the Petition. The Government dismissed allegation 3. Having considered

 the Petition and the plea of true to allegations 1, 2, 4, 5, 6, and 7, the Court finds that Defendant

 did violate his conditions of supervised release.

        Defendant waived his right to allocute before the District Judge and his right to object to

 the report and recommendation of this Court [Dkts. 279, 280].

                                          RECOMMENDATION

        Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant’s

 supervised release be revoked and that he be committed to the custody of the Bureau of Prisons to

 be imprisoned for an additional term of imprisonment of eight (8) months, with a term of

 supervised release of three (3) years to follow.

        The Court further recommends imposition of the following special conditions: (1) The

 defendant shall provide the probation officer with access to any requested financial information

 for purposes of monitoring the defendant's sources of income; (2) The defendant shall participate

 in a program of testing and treatment for alcohol and drug abuse, under the guidance and direction

 of the U.S. Probation Office, until such time as the defendant is released from the program by the

 probation officer. The defendant shall pay any cost associated with treatment and testing; (3) Under

 the guidance and direction of the U.S. Probation Office, the defendant shall participate in any



 REPORT AND RECOMMENDATION – Page 3
Case 4:14-cr-00024-ALM-CAN Document 285 Filed 12/02/21 Page 4 of 4 PageID #: 993




 combination of psychiatric, psychological, or mental health treatment as deemed appropriate by

 the treatment provider. The defendant shall pay any cost associated with treatment and testing; and

 (4) You must reside in a residential reentry center or similar facility, in a prerelease component for

 a period of up to 180 days to commence immediately upon release, and you must observe the rules

 of that facility. Should you obtain a residence approved by the probation officer during the 180-

 day placement, you must be released. While at the facility, your subsistence requirement shall be

 waived, and you will be required to save at least 25% of your gross income for the purpose of

 securing a personal residence and provide verification to the probation officer.

        The Court also recommends that Defendant be housed in a Bureau of Prisons facility in the

 North Texas area, if appropriate.

         SIGNED this 2nd day of December, 2021.




                                      ___________________________________
                                      Christine A. Nowak
                                      UNITED STATES MAGISTRATE JUDGE




 REPORT AND RECOMMENDATION – Page 4
